Case:13-19032-MER Doc#:120 Filed:08/21/14 Entered:08/21/14 14:20:22 Pagel of 12

“a . w
DEBTOR: FEY y Lywérré EV ArvSar/ MONTHLY OPERATING REPORT
CHAPTER 11
CASE NUMBER: [4 - i903 > mee
Form 2-A
COVER SHEET

For Period Ending ? [st /

Accounting Method: [L]Acenmipasis  [¥jcasn Basis

THIS REPORT IS DUE 21 DAYS AFTER THE END OF THE MONTH
Debtor must attach each of the follwing reponsidocumants uniass te 1. S“Tnsstoe
has waived the requirerant in writng. Re the afiginal with the Ctark of Gaur.

Marx One Sox fer Sach
Submit.a dupheate, with origina! signature, "to the U.S. Tnsstee.

Required Decumern:.

|
|

REQUIRED REPORTSIDOCUMENTS
4. Cash Receipts and Disursements Statement (Form 2-8}
2. Batanse Sheet Form 2-0)
3. Profit and Loss Statemeni (Form 2-D}
4. Supporting Schedules {Form 2-=)
5. Quarterly ree Summary (Form 2-=)

&. Narrative (Form2-G)

a#iEeae eel
nooodoono:

 

 

 

| decfare umder penalty of perjury that the following Monthly Operating Report, and any
attachments thereto are true, accurate and correct to fhe best of my knowledge and belief.

Lv Av S6n5

—

 

Exesuted on: S/@/i Print Name: AEQ KY

      

 

Signature: ep ———
(a

 

Rev. 12302008
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DEBTOR: Felt + YA ETTE. EU Ar $00 CASE NO: Jj 3-/963 ame.
Form 2-3
CASH RECEIPTS A SBURS STATEMENT
For Perioe: 7/7 /Y¥__ 7 Zi 1%"
S >. Current
SASH FLOW SUMMARY purer accurate

4. Beginming Cash Balance

2. Sesn Receipts

 

se.
$_Josts. (1) 3 (1)

4ea3 7

 

 

 

 

 

 

Operations
‘Sale of Assats ge.
Loansfadvances :
Dither / CO G
_
3. Cash Disbursements . 93
Operations \77 3 -
Deb? Service/Secured ioan payment _ &
Professional feesiUS. Trustee fees 2954
Stner
_—_
otai Cash Disbursements 3 ATS 74 2 SS
4. Net Cash Flow (Total Cash Receipts less ee sv
Total Cash Disbursements) (0 (C _
et
5 Ending Cash Balance (te Form2-C) s /01S, “2s (2)
CASH BALANCE SUMMARY Book
Financial Insfintion Satance
Petty Cash s s=
ue fl 4; 5 dy, a:
DIP Operating Account Wié £4 Atte? 3$ 7. i f(t os

DIP State Tax Account

 

DIP Payroll Account

 

Dther Operating Account

 

Other interest-bearing Account

 

s Wey. se)

TOTAL (must agree with Ending Cash Balance above)

(1) Accumutated beginning cash balance is the cash available at the commencement of the case.
Current month beginning cesh balance should equal the previous month's ending balance.
(2) All cash balances should be the same.

Page t aF3
Rev, 12702009
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= bter i3- (GOZamez .
DEBTOR: 7é#LY Lywlérre LvjeriSer)  CASENO (37 f

Form 2-B _ _
CASH RECEIPTS DISBURSEMENTS ATEMENT
For Perioc:_7 tly. to 2: SHS

AccountNo: [ $C 2@.

 

 

 

CASH RECEIPTS DETAIL
(attach additional sheets 25 necessary} +
tT oy ' ft
[Dae | { Paver | Description | 3! Amoun:
. 5c
[sbo

( 2¥ 23 -
‘y = -

- 1, “a
Total Cesh Receipts s oe FR Se)
. 2-8, q ge 2 of3
{D Total for all accounts should agree with total cash receipts listed on Form 2-8 page _

 
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Cent? luwerré Loansend CASE NO: (3-193. ME.

Form 2-8

CASH RECEIPTS DISBURS S STATEMENT
For Period:
Ascoum No: 3S Pe :

DESTOR:

CASH DISBURSEMENTS DETAIL

 

 

 

 

(attach additional sheets 2s necessary)
| Date | check No.| | Payee ~| [___Deserintion (Purpose) StF a
e y rate tree AGS i
/ ‘ i 3 a
. 73
Bev p ere 242
$3 7

backer 5
NOS 7 jie oD
beet StU.

o\ Tt yt? 2
Y2

 

Total Cash Disbursements s Y 2 53-7 +(4)

() Total for eal aceoums should agree with total cosh disbursements listed on Form 2-B, page 7 Page 3053
Rev. 724102009

 
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DEBTOR:

ASSETS

Currem Assets:
Cash (from Fon 2-8, line 5)
Accounts Reseivahte (fram Form 2-=)
Receivable from Offisers, Employees, Affiliates
inventory
Other Current Assets :(List}

 

 

Total Current Assets

Pixec Asset:
Land
Buitdine
Squipmen:, Tumiture anc Fixtures
Total Fixec Assets
Less: Accumutated Depreciation
Net Fixed Assets

Other Assets (List}:

TOTAL ASSETS

LIABILITIES
Past-petiiion Accounts Payadie (from Form 2-=)
Posi-petition Accrued Profesional Fees (irom Form.2-)
Post-petition Taxes Payable (irom Fonm2-£)
Post-pstitian Notes Payable
Other Pos?-petition Payable(List):

 

 

“Total Post Petition Liabilities
Pre Petition Liabilities:
Secured Dept
Unsecured Debt
“Total Pre Petition Liabilities
TOTAL LIABILITIES

OWNERS’ ZQUITY
Owner’s/Siockholder's Equity
Retained Samings - Prepetifion
Retained Samings - Post-petition

TOTAL OWNERS' EQUITY

TOTAL LIABILITIES AND OWNERS’ EQUITY

ao
Ett -linbrre Eval ben

Fosm 24

COMPARATIVE SALANSE SHEET
ForPeried Ended: 7/3/;//% ”

CASE NO:

-_

5

Current
Month

[3-(9632/Ex£.

Petition
Date (1)

 

 

 

 

 

 

 

 

 

a

str

 

(t) Petition date valves are taker: from the Debtor's baianse sheat ac of the petition date of are the values

listed on the Debtor's schedules.

s
$

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Page 1 of 1
Rew. 122005

 
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TEMLLY Ly érré Evanted CASENO: (3 -/9C32NEX.

 

DEBTOR:
Form 2-D
PROFIT AND L. STATEMENT Lh
For Period to :
Surrent Accumulated
Month Total (D
ov.
Gress Operating Revenue $s AT2S 5
Less: Discounts, Returns and Allowances ( —___} (_
I ¢ —
Net Operating Revenue $ 2tAiK, FS
Cast of Goods Sold 174 2 + _
Operating Expenses s
Officer Compensation 3s
Selling, General and Administrative
Rents and Leases -
Depreciation, Depletion and Amortization 3 5
Other (list): j 54 —_—
~ ‘ cf
otal Operating Expenses 3 it 3
Operating Income (Loss) $ lé $¢. 3
Non-Operating Income and =xpenses
Other Non-Operating Expenses 3 s
Gains (Losses) on Sale of Assets
interest Income
interest Expense
Other Nor-Operating Income
Net Non-Operating Income or (Expenses) $ 3
Reorganization Expenses
Legal and Projessiona! Fees & 3
Other Reorganization Expense
Total Reorganization Expenses $ S
63s ry.
Net Income (Loss) Before Income Taxes $ (637 — So
Federal and State income Tax Expense (Ben2m) <-
. 2 .
NET INCOME (LOSS) s (657 $
{f) Accumulated Totais inctude al raveniue ang expenses since the potition date.
Page 7 of 1

 

 

 

Rev. T2020

 
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pastor: Téyy ylywere Lvprtbew CASE NO: /3 -)9632 MER.

Form 2-E
SUPPORTING SCHEDULES / .
For Period: 7// //¢ w 7/3,

POST PETITION TAXES PAYABLE SCHEDULE

 

Beginning Amount Amount Date Chesk Ending
Balance (1) | Accrued Paid Paid Number Balance
income Tax Withheld:
Federal 3 s $ 3
State

FICA Tax Withheld
Employer's FICA Tax
Linempioyment tax

Federal
Stare

Saies, Use &
Excise Taxes

Propeny Taxes
Accrued tnseme Tax
Federal

State
Other.

TOTALS s da 3 3 s

(f) Foriirst reporc, Beginning Balance will be $0; thereatier, Beginning Balance wili be Ending Balance from prior report

 

 

 

 

INSURANCE SCHEDULE
Premium
Carrier Amount of Expiraton Paid
Covarage Date Through
Workers’ Sompensation $3 5
General Liability 3 $s
: ‘ : a
Property (Fire, Theft) [a-—+>+- $ iw $ af, {$
Vehicle Cave - 5 Derr’ 3 30 It.
Other (Est): $ $
s s
Page { af2

Rev, (2102009
Case:13-19032-MER Doc#:120 Filed:08/21/14 Entered:08/21/14 14:20:22 Pages of 12

 

DESTOR: Tepty ¥ Lu wWert€ Lv Fi Son? SASENO: 13 19032 ee,
Form 2-E

SUPPORTING SCHEDULE /
sorPerioet: 2/y [/Y te _ 2 Lr. Lo
CCOUNTS RECEIVABLE AND POST PETITION PA YABLE AGING
Ascoumnts Post Petition
Due Raceivable Accounts Payable

 

Unser 30 days $ $s
35 to 60 days

4c 30 days
91 to 720 days
Over 120 days

Total Post Petition

|

Pre Petition Amounts

Total Accounts Receivable
Less: Bad Debi Reserve
Net Accounts Recsivabie (to Torm 2-0) s

 

 

 

 

 

“Tota! Pos: Petition .
Accounts Payable +. C_—

* Attach 2 detail listing of accounts receivable anc post-petition ascouncs payable

SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER PROFESSIONALS

 

 

Month-end Surrent Paid in
‘Retainer Month's Current Date of Month-end
Balance Acenual Month Court Approval Batance Due *
Debtor's Counsel 3 $s s 5
Counse! for Unsesured
Craditors’ Committee
Trusie2's Counsel

Accourmart

Other. ~ .
Total 3 $ $ 3

*Balonce due to inchide fees and expenses Incurred but not yo: paid.

 

SCHEDULE OF PAYMENTS AND TRANSFERS TO PRINCIPALS/EXECUTIVES™

 

 

 

Pavee Name Position Nature of Pavment Amount
$ a.
~—
ee

 

“List payments and transfors of any kind anc in. any form made to or for the benefit of ary propriates, owner,
partnes, shareholder, officer or diresto:. Page 2 of 2
Rev. 2/2808

 

 
Case:13-19032-MER Doc#:120 Filed:08/21/14 Entered:08/21/14 14:20:22 Page9 of 12

-
DESTOR: TEs eh ywerté Evanson CASENO: /3-/9e3>EZ .

 

 

 

Form 2-F
QUARTERLY F== SUM *
For the Month Ended: 2 h

Cash Quarteriy Daie
Month Year Disbursements ™ Fee Due Check No. Paid
January s
February
Maren

 

 

TOTAL ts: Quarter $

 

 

 

 

 

 

April 3
May
June

TOTAL 2nd Quarter §$

at

July 4753.-—3
August
September

 

 

TOTAL 3rd Quaner $$

Setaber 3
November
Decem Ror

 

 

 

—_—_______ 5
———
Ss
es

 

TOTAL4ih Quaner S$

a

FEE SCHEDULE (as of JANUARY 1. 2008)

 

 

 

 

 

Subject to changes that may occur tp 28 U.S.C. §1930(a)(6) _
Quarieriv Disbursements Fee Quarterly Disbursems! Eee
SO to $14,999 __........_. $325 $1,000,000 to 51,932,299... $5,500
$15,000 te $74,999........ $850 $2,000,000 to $2,992,999 $9,750
$75,000 to 5148,393........ $375 $3,000,000 te $4,399,992 $10,400
$150,000 to $224,998... $1,625 $5,000,000 te $14,999,999 ....... $13,000
$225,000 to $295,99S_.... 74,250 $15,000,000 to $29,992,998... $20,000
$300,000 t $999,998... $4,875 $30,000,009 or more $30,000

gS

year's information cumutafive to the end of the reporting period

——

 

* This summary is te reflect the current caiendar

™ Should agree with line3, Form 2-8. Disbursements are net of tansfers te other debtor in possession bank ascourts

Fedure to pay the quartriy fee is cause jor conversion or dismissai of ine chapter 44 case. 17 USC. Sac. 4772(d)(10P
in addition, unpaid fees are considered 2 deat owed fo the United States and will be assessed interest under 31 U.S.C. 53717
Page 1 of 4

Rev. 121072009

 

 
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: (2- ER.
pastor: Teatyr Lywérre Evanson! CASE NO: _/ 3719032 mee

Form 2-G

For Period Ending

Please business i :, its creditors,
rovide ipti + busi and legal astions taken by the debtos,
provide.a brief description of any significant e
or the cour: during the reporting period, any unusual or nop-recurring accounting transactions that are reported in
the financial statements. and any significant changes in the financial condition of the debtor whish have occutred
*

subsequent to the report date.

 

 

 

 

 

Page i oft
Rex. c2rmmzoes

 
CEassiaes 19032-MER, Doc#:120 Filed:08/21/14 lEntered:08/21/14 14:20:22 Page11 of 12
s Fargo Account Activity age? of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘Date 3 | Dossription Deposits (Credits  Witharawals / Dodits Ending Daily
i j Batance
PCS PURCHASE - SAFEWAY SiOR= 1548 LIFILETON CO 4075
+ 00384201183737889
O7724Mé ~=—°- POS PURCHASE - KING SOOPERS 400 RED C HIGHLANDS RNCCO 7458 : $22.31
+ 00384200070114727
O721NS «= Devos in Braner/S:sre 07/21/14 02:34:50 PM 6223 E LINCOLN AVE LONE TREE $775.00
Co 3575 ,
O78N4 = WAST= CONNECTION WEE_PAY JUL 14 1255160507 1714 TERRY EVANSON $71.32 $14.769.28 ©
o7sene FOS SURTHASE - KING SOOPERS 400 RED C HIGHLANDS RNCCO 7456 $34.38
0038419662475742¢
G7N7N4 «= CHECK CRD PURTHASE Ci/14 PIZZA PIE CAFE PRO PROVO UT 318.72 - $14,874.32
SB4258XXXXKX7458 034195850738353 PMOC25812
O7MEN14 == OS PURCHASE - SMITHS 250 N FREEDOM PROVO UT 4678 $33.22 $11,893.71
0038<18756229287¢
OTNSNS | RED ROCKS CURRCU LN 15 8708143576 Everson Terry . $377.55 $11,824.93 _
'  O7f44 DISH NETWORK DISH NTWRK 071014 9050370845 SPA EVANSON, TERRY : $115.42 | $12.202.52
O7N4142 = 20S PURCHASE - WALGREENS S656 TIMBER: HIGHLANDS RANCO 4078 : $9.3 :
003061925 34925881 :
O7N4N4 = POS SURCHASS Wal Mar Suser Cemter HIGHLANDS RANTO 745 $58.33
000000006370025:
O7N4H2 = =—- BOS. PURCHASES - WAL MART SAM S Club LITTLETON SE CC 7458 $74.96
Q0000000255927530
O7N4114 = POS PURCHASE - WAL MART SAM S Ctub LITTLETON SE CO 7458 ge249
ogooocee' sesasza3
O714N4 Snet Relance Home Pany 2327 Lynette > Evanson Si27.12
G7N1Ns = ADVANTEDGE BUSIN 07/11/14 XXXXX0049 EVANSON. TERRY — $783.c9 $12,082.29
O7M0nd = POS FURCHASE - KING SOOPERS 5873S QU HIGHLANDS RNCCO 7458 : $18.42 $14.708.26 °
0046£191751133621 .
O7MONS =» POS PURCHASE - SAM S Cus LITTLETON SE CO 7458 00000000257486172 $258.54
omnes © CHECK CRD PURCHASE 07/03 WESTERN PARKING DENVER CC $3.0
S34 25BXXXXKNAOTS 586 189899545717 PMCCS7S23 .
o70si14 TRANSAMERICA INS INSPAYMENT 37L/A 0$42083752 EVANSON.LYNETT= OR , $45.46 27. 889.26
TER .
ovate =. CHECK CRD PURCHASE 07/08 PANDA EXPRESS #545 HIGHLANDS RAN CO S681
* 23425 QOXKK7 ASE 305180040532158 FMCC=5B14
O7SN4 © CHESK CRD PURCHASE 06/26 AMATO WHOLESALE =. DENVER CG ‘$375.55 ;
: + AB42EEXXKKKK7 458 084177745819175 7MCC251S3 .
07074 =; FARMERS INS SFT PYNIT 070514 A798BSS8ES04RCD LYNETTEPEVANSON 07 $292.73 - $12,321.08 |
O70TNS == CHECK # 121 $500.00 . :
* O7K7N4 =. CHECK CRD PURCHASE 07/03 WESTSIDE TOWING 3036885244 CO . $108.00 '
: AB4Z5EXXXXXXA4079 584 184789883337 PMCC27545 . :
{ O707N4 — eDecosit in Branc/Store 07/07/14 01:02:13 PM 12505 E LINCOLN AVE : $1,566.25.
: : ENGLEWOOD CO 3576 : :
: 77034 POS PURCHASE - SAMS Co LITTLETON SE CO 7458 Doc2000085 1228895 : 1 $12.69 | $71,653.54
O7a2n4 =, TRANSAMERICA INS INSPAYMENT 37L/A 0541730059 EVANSON, TERRY AND i ‘$107.19 ° $71,666.23 |
“LYN : : :
| O7M24 : POS PURCHASE -KING SODFERS 400 RED C HIGHLANDS RNCCO 7458 i i $19.55 | :
i ; 0038¢183807730076 : : : :
{ o7roaa : POS PURCHASE - KING SOOPERS 7285 LAGA CASTLE ROCK CO 7438 : : S285
: : 00594 1e38951885¢% , 2 :
1 G7M2N — eDesosit in Branch/Store 07/02/14 02:59:08 PM 9233 E LINCOLN AVE LONE TREE $360.63 - : ‘
: CO 2576
O7M1N4 =. POS PURCHASE - KING SOOPERS 400 RED C HIGHLANDS RNSCO 7458 : $24.88 | $14,439.23 |
j 00464182845770153 : ; : :
+ ONDINE POS PURCHASE - WAL MART STORES SAM S LITTLETON S= cO7458 . ‘ $21.38 -
: 00464122525627515 : :
Toxats : $4,362.80 * $4,783.74 :

 

 

> Equal Housing Lender
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https://onlinc.wellsfargo.com/das/cgi-bin/session.cgi°scssargs=8cLsLix W IlmBJhIIvBFijB... 8/5/2014
Castlegate-Ganiye DUoRFifabRepat® - FukdoQ@all/14 Entered:08/21/14 14:20:22 Paage pbt?

Castlegate Garage Ocor Fina! Report Teoeayy coy yothto abane
From: “Wiliam A. Richey” <wrichey@weinmanpc.com>

To: “Mark Burns® <bumsme@comcast.net>

Ce: “Jeff Weinman” <jweinman@epitrustes.com>

Mark, | have reviewed the Bankruptcy Court's Docket and it locks like Barenbaum Weinshienk did not timely receive any objections to ts application for
fees and expenses. The due date to object was 7/1/2014. Assuming the Bankruptcy Court enters its order approving the fees and expenses, all matters
in the Chapter 11 case have been concluded and we can file a request for a Final Decree which if approved wil close the Chapter 11 case. Along with
the request for final decree it is necessary to file a fina! report which sets forth the payments, to date, that Castiegate has made to its creditors under the
confirmed plan.

As you may recall the plan was confirmed by the court on 3/4/2014 and the “Effective Date" of the pian was 4/18/2014. The Effective Date is the date
that payments were to start under the plan. Monthly payments should have commenced to the City and County of Denver , Ally Financial and CHI
Overhead Door. In addition a $50,000 distribution shoutd have been made to unsecured creditors on a pro rata basis. Please provide an accounting of
the plan payments that have been mada.

Once the Final Decree is enterad and the case closed, it will nat be necessary to file further financial faports or continue to pay quarterly fees to the US
Trustee. However, until the case is closed it is neseccary to file Post Confirmation Quarterly Reports and pay quarterly fees. The Post Confirmation
quarterly report is a one page report. You should have recieved a blank copy of the report when you recieved information from our office concerning the
fading of financial reports with the US Trustee.

It appears that the last monthly financial report was filed for 2/2014. A Post confirmation quarterly report needs to be filed with information for March,
2014 and quarterly fees for the 1st quarter of 2014 (calculated based on the January and February, 2014 monthly reports and the March Post
Confirmation quarterly report) need to be paid. Because we are now in the3rd quarter of 2014 it is necessary to file a post confirmation quarterty report
for the 2nd quarter of 2014 and pay the appropriate quarterly fee to tha US Trustee.

Once | have the information from you, | will prepare the Final Report.
Please let me know if you have questions or need additional information.
Bilt

Wiliam A. Richey

Weinman & Associates, P.C.
730 17th Street, Suite 240
Denver, CO 80202-3506
Telephone: (303) 572-1010
Facsimie: (303) 572-1011

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